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            9                                    UNITED STATES DISTRICT COURT
           10                                 NORTHERN DISTRICT OF CALIFORNIA
           11                                            OAKLAND DIVISION
           12    LD, DB, BW, RH and CJ, on behalf of              Case No. 4:20-cv-02254-YGR
                 themselves and all others similarly situated,
           13                                                     [PROPOSED] ORDER GRANTING
                                        Plaintiffs,               DEFENDANTS’ MOTION FOR
           14                                                     ADMINISTRATIVE RELIEF FOR AN
                        v.                                        EXTENSION OF FACT DISCOVERY
           15
                 UNITED BEHAVIORAL HEALTH, a
           16    California Corporation,                           Hon. Yvonne Gonzalez Rogers
                 UNITEDHEALTHCARE INSURANCE
           17    COMPANY, a Connecticut Corporation, and
                 MULTIPLAN, INC., a New York corporation,
           18
                                        Defendants.
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Gibson, Dunn &       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR ADMINISTRATIVE RELIEF FOR AN
Crutcher LLP
                                             EXTENSION OF FACT DISCOVERY
                                                CASE NO. 4:20-CV-2254-YGR
                   Case 4:20-cv-02254-YGR           Document 477-9        Filed 06/13/25     Page 2 of 2


            1                                          [PROPOSED] ORDER
            2            Defendants have filed a Motion for Administrative Relief Pursuant to Civil Local Rules 6-1, 6-
            3    3, and 7-11, seeking a 28-day extension of the June 13, 2025 fact discovery deadline in this matter.
            4
                 Having considered the motion and the accompanying declaration of Matthew G. Aiken, and for good
            5
                 cause appearing:
            6
                         IT IS HEREBY ORDERED that the deadlines set out in the Court’s March 11, 2025 Order Re:
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            8    Schedule for Limited Discovery and Subsequent Briefing (Dkt. 472) are modified as detailed in the

            9    chart below.

           10
                                  Event                          Prior Deadline                 New Deadline
           11            Close of Fact Discovery
                   Limited to issues identified in prior          June 13, 2025                  July 11, 2025
           12
                                  order
           13     Plaintiffs’ Renewed Motion for Class
                                                                  July 14, 2025              No deadline change.
                               Certification
           14      Defendants’ Response to Renewed
                                                                 August 4, 2025              No deadline change.
                      Motion for Class Certification
           15        Plaintiffs’ Reply in Support of
           16          Renewed Motion for Class                  August 25, 2025             No deadline change.
                               Certification
           17       Hearing on Renewed Motion for           September 9, 2025 at 2:00
                                                                                             No deadline change.
                            Class Certification                      P.M.
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                         IT IS SO ORDERED.
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           21
                 DATE:
           22                                                           Hon. Yvonne Gonzalez Rogers
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Gibson, Dunn &       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR ADMINISTRATIVE RELIEF FOR AN
Crutcher LLP
                                             EXTENSION OF FACT DISCOVERY
                                                CASE NO. 4:20-CV-2254-YGR
